Case 2:03-cv-02244-SH|\/| Document 101 Filed 06/07/05 Page 1 of 4 Page|D 86

HLED BV D{.
IN THE UNITED STATES DISTRICT COURT """‘ ""'

FoR THE wEsTERN DISTRICT 01'-' TENNESSEE 05 JUN_.] p
wEsTERN DIvIsIoN H h: 28

%?§§§T,¥Mz.;:wuo

_, r.._:.,. \_n~>|. CT.
W.D. Gr’~” ?‘r\l, MEMPHIS

MICHAEL LUSTER,

Plaintiff,
v. Case No. 03-2244»Ma
ML TENNESSEE APARTMENTS LP, et al.,

Defendants.

 

ORDER ON JURY VERDICT

 

This action came on for trial before the Court and a jury on
May 23, 2005, the Honorable Samuel H. Maysr Jr., U.S. District
Judge, presiding.

The plaintiffs were represented by counselr Mr. Brian
Strength, Ms. Danese Banks and Mr. Jock Smith. Tbe defendants were
represented by counselr Mr. Kevin Williams, Mr. Christopher Byrdr
Mr. Robert Flynn and Mr. Jeffrey Glatstein.

After hearing all proof presented, arguments of counsel and
jury cbarge, the jury began deliberations on May Bl, 2005.
Thereafter, the jury returned into open court on June l, 2005 and
announced the following verdict:

1. That defendants ML Tennessee Apartments and Equity

Residential Properties Management Corporation were
negligent and that said negligence was a legal cause of

Plaintiff Michael Luster'g claimed injuries and 1055€3_
T'nis document entered on the docket sheet m cobgp|\ence
./ /
with F%u\e 58 and,'or 79(5) FRGFJ on

 

Case 2:03-cv-02244-SH|\/| Document 101 Filed 06/07/05 Page 2 of 4 Page|D 87

2. That plaintiff Michael Luster was negligent and that said
negligence was a legal cause of Plaintiff Michael
Luster’s claimed injuries and losses.

3. Tbat the percentage of fault attributed was fortyefive
(45%) percent as to plaintiff Michael Luster and fifty-
five (55%) percent as to defendants ML Tennessee
Apartments and Equity Residential Properties Management
Corporation.

4. That the total amount of damages sustained by plaintiff
Michael Luster is $2,500,000.00.

The jurors were polled individually and discharged.

(‘*§ day of June, 2005.

w \z/M»~

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

ENTERED this

 

 

DISTR CT COURT - WESTENR

Notice of Distribution

This notice confirms a copy of the document docketed as number 101 in
case 2:03-CV-02244 Was distributed by faX, mail, or direct printing on
June 8, 2005 to the parties listed.

ENN

ESSEE

 

Y. Kevin Williams

WEINBERG WHEELER HUDGINS GUNN & DIALS, LLC

950 East Paces Ferry Road
Ste. 3000
Atlanta, GA 30326

Brian P. Strength

COCHRAN CHERRY GIVENS & Sl\/HTH
P.O. Box 830419

Tuskegee7 AL 36083

Christopher T. Byrd

WEINBERG WHEELER HUDGINS GUNN & DIAL, LLC
950 East Paces Ferry Road

Ste. 3000

Atlanta, GA 30326

Robert D. Flynn

SPICER FLYNN & RUDSTROM
80 Monroe Ave.

Ste. 500

Memphis7 TN 38103

Danese K. Banks

COCHRAN CHERRY GIVENS SMITH & BOLTON
One Commerce Square

Ste. 2600

Memphis7 TN 38103

lock M. Smith

COCHRAN CHERRY GIVENS & Sl\/HTH
P.O. Box 830419

Tuskegee7 AL 36083

Jeffery S. Glatstein

SPICER FLYNN & RUDSTROM
80 Monroe Ave.

Ste. 500

l\/lemphis7 TN 38103--246

Case 2:03-cv-02244-SH|\/| Document 101 Filed 06/07/05 Page 4 of 4 Page|D 89

Honorable Samuel Mays
US DISTRICT COURT

